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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

enn 2:22-cv-00459-SVW-AGR Date March 9, 2023

 

Title Conor Woulfe et al v. Universal City Studios LLC et al

 

 

Present: The Honorable STEPHEN V. WILSON, U.S. DISTRICT JUDGE

 

Paul M. Cruz N/A
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
N/A N/A
Proceedings: 39) DENYING PLAINTIFFS’ MOTION FOR RECONSIDERATION
89

Before the Court is a motion for reconsideration filed by Plaintiffs, ECF No. 89, seeking
reconsideration of the Court’s partial grant of Defendant’s anti-SLAPP motion. ECF No. 83 (the
“Order”). For the foregoing reasons, Plaintiffs’ motion is DENIED.

Determination of a party's motion for reconsideration rests within the Court's discretion. See
United States v. Brobst, 558 F.3d 982, 994 (9th Cir. 2009); see also United States v. Hobbs, 31 F.3d 918,
923 (9th Cir. 1994). Under this district's Local Rules, the Court cannot reconsider a previous ruling
unless the party requesting reconsideration meets the following standard:

A motion for reconsideration of an Order on any motion or application may be made only on the
grounds of (a) a material difference in fact or law from that presented to the Court that, in the
exercise of reasonable diligence, could not have been known to the party moving for
reconsideration at the time the Order was entered, or (b) the emergence of new material facts or a
change of law occurring after the Order was entered, or (c) a manifest showing of a failure to
consider material facts presented to the Court before the Order was entered. No motion for
reconsideration may in any manner repeat any oral or written argument made in support of, or in
opposition to, the original motion...

 

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C.D. Cal. Local Rule 7-18; see also Carroll v. Nakatani, 342 F.3d 934, 945 (9th Cir. 2003) (motion for
reconsideration is not a vehicle to reargue the motion, present arguments which could reasonably have
been raised earlier, or present evidence which should have been raised before). A court may also grant
reconsideration where it committed clear error. Orange Street Partners v. Arnold, 179 F.3d 656, 665
(9th Cir. 1999) (“[A] motion for reconsideration should not be granted, absent highly unusual
circumstances, unless the district court is presented with newly discovered evidence, committed clear
error, or if there is an intervening change in the controlling law.””). “Motions for reconsideration are
disfavored, however, and are not the place for parties to make new arguments not raised in their original
briefs. Nor is reconsideration to be used to ask the Court to rethink what it has already thought.”
Motorola, Inc. v. J.B. Rodgers Mech. Contractors, 215 F.R.D. 581, 582 (D. Ariz. 2003) (citation
omitted).

A court should not experience déja vu when reviewing a motion for reconsideration. Here,
Plaintiffs’ motion attempts to recycle arguments that the Court already considered and rejected. This
alone should be a basis for denying the motion. See e.g. Tortilla Factory, LLC v. United Nat. Foods,
Inc., No. CV177539FMOGIJSX, 2019 WL 4451230, at *2 (C.D. Cal. July 22, 2019) (“Where a motion
for reconsideration raises no new arguments, but instead relies on the same arguments made in the
party's original opposition, the motion for reconsideration should be denied.”) (citations and quotations
omitted); Gray v. Golden Gate National Recreational Area, 866 F. Supp. 2d 1129, 1132 (N.D. Cal.
2011) (motions for reconsideration not “to be used to ask the Court to rethink what it has already
thought”). But even reviewing the merits of Plaintiffs’ arguments, the Court does not find any clear
error of law or a failure to consider material facts, which would warrant granting reconsideration.

Plaintiffs first contend that the Court’s finding that the trailer was in furtherance of the right to
free speech was inconsistent with the plain meaning of the anti-SLAPP statute. But a plain reading of
the text does not support Plaintiffs’ contention. The phrase “in furtherance” “[b]y its terms, [...]
includes not merely actual exercises of free speech rights but also conduct that furthers such rights.”
Hilton v. Hallmark Cards, 599 F.3d 894, 903 (9th Cir. 2010) (citing Cal.Civ.Proc.Code § 425.16(e)(4)):;
see also Langer v. Kiser, 57 F.4th 1085, 1105 (9th Cir. 2023) (“The threshold showing encompasses
‘not merely actual exercises of free speech rights,’ such as the ADA action Langer later filed, but also
‘conduct that furthers such rights,’ such as entering the property and documenting ADA
noncompliance.”) (citations omitted); Order at 8 n.2. And here it is clear that conduct underlying

 

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Plaintiffs’ complaint, the advertisement of the movie, is an act in furtherance of Defendant’s First
Amendment rights — the creation and dissemination of a movie. Order at 8; Tamkin v. CBS Broad., Inc.,
193 Cal. App. 4th 133, 143, 122 Cal. Rptr. 3d 264, 271 (2011) (“The creation of a television show is an
exercise of free speech. [...] Here, defendants' acts helped to advance or assist in the creation, casting,
and broadcasting of an episode of a popular television show.”) (citations and quotations omitted).

To contend that the anti-SLAPP statute does not apply, Plaintiffs cite to Flatley v. Mauro, 39
Cal.4th 299, 324 (Cal. 2006) for the proposition that illegal conduct that may technically be in
furtherance of First Amendment activity, such as committing arson in protest, is outside of the ambit of
the anti-SLAPP statute. Reply. at 8. Plaintiffs further argue that because Defendant’s alleged false
advertising is illegal activity, analogous to arson, Defendant’s alleged false advertising falls outside the
ambit of the anti-SLAPP statute. But Plaintiffs’ reliance on Flatley is flawed for two reasons. Furst,
Flatley stands for the proposition that in the “narrow circumstance, where either the defendant concedes
the illegality of its conduct or the illegality is conclusively shown by the evidence, the [anti-SLAPP]
motion must be denied.” Filatley, 39 Cal. 4th at 316. Here, Plaintiffs have not established as a matter of
law that Defendant’s conduct was “illegal.” Rather, the Court’s order only determined that, applying the
standards of Federal Rule of Civil Procedure 12(b)(6), Plaintiffs stated a plausible claim.

Second, and most critically, “‘Illegal’ in this context refers to criminal conduct[.]” Aron v. WIB
Holdings, 21 Cal. App. Sth 1069, 1083, 231 Cal. Rptr. 3d 1, 13 (2018) (cleaned up and citations and
quotations omitted); see Mendoza v. ADP Screening & Selection Servs., Inc., 182 Cal. App. 4th 1644,
1654, 107 Cal. Rptr. 3d 294, 303 (2010) (“Our reading of Flatley leads us to conclude that the Supreme
Court's use of the phrase “illegal” was intended to mean criminal, and not merely violative of a statute):
Flatley, 39 Cal. 4th at 305 (“Mauro’s communications constituted criminal extortion as a matter of law
and, as such, were unprotected by constitutional guarantees of free speech or petition.”). Thus, even if
Plaintiffs could establish the “illegality” of Defendant’s conduct as a matter of law, Flatley would still
be inapplicable, because Plaintiffs have not asserted that Defendant’s conduct was a violation of
criminal law. Accordingly, the Court rejects these arguments.

Turning to Plaintiffs second argument, Plaintiffs rehash their arguments that the trailer was not in
connection with a public issue. Primarily, Plaintiffs contend that the Court erred and “misse[d] the point
of this case”, Mot. at 8, by determining that the trailer advanced discourse regarding Ana de Armas,

 

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when De Armas was not in the ultimate movie. But it is puzzling how the Court has missed the point of
this case, when Plaintiffs’ claims are premised on the theory that consumers would believe that De
Armas would be in the movie based on the trailer. See e.g. Compl. at §§ 88-89. Regardless of whether
De Armas was in the ultimate movie or not, the trailer would still advance public discourse regarding De
Armas. Order at 9.

As noted by the Defendant, Plaintiffs’ motion for reconsideration is based on disagreement with
the Court's Order[, which] is not a proper ground for seeking reconsideration pursuant to Local Rule 7-
18(a).”) Rockefeller v. Perkins Coie LLP, No. 209CV04675SVWFFM, 2019 WL 1034316, at *1 (C.D.
Cal. Jan. 31, 2019) (citations omitted). Accordingly, the motion is DENIED.

IT IS SO ORDERED.

 

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